       Case 4:14-cr-00005-WTM-GRS Document 248 Filed 02/10/15 Page 1 of 8




                   UNITED STATES DISTRICT COURT

                   SOUTHERN DISTRICT OF GEORGIA

                              SAVANNAH DIVISION


UNITED STATES OF AMERICA )
                                          )



V.
                                          )       Case No. CR414-005
LILLIE MAE EUBANK and                     )
CARL EVAN SWAIN                           )

                     REPORT AND RECOMMENDATION

         Carl Evan Swain and his sister, Lillie Mae Eubank, face trial for

the murder of Eubank's husband. Doe. 101. Swain wants to exclude the

statements he made to two FBI agents following his arrest in Alabama.

He thus moved for and the Court granted him a Jackson-Denno hearing.'

Doc. 215, as amended, doe. 223; doe. 234 (hearing Minute Order). There

counsel stipulated to the accuracy of the transcript reflecting Swain's

interview by those agents .2 Doe. 215-1 (interview transcript). That

interview occurred after Eubank confessed to law enforcement that she
I
 Jackson v. Denno, 378 U.S. 368, 380 (1964) ("A defendant objecting to the
admission of a confession is entitled to a fair hearing in which both the underlying
factual issues and the voluntariness of his confession are actually and reliably
determined."); see Colorado v. Connelly, 479 U.S. 157, 167 (1986) (explaining that
"coercive police activity is a necessary predicate to the finding that a confession is not
'voluntary").
2
    The parties did note a minor discrepancy not relevant here.
    Case 4:14-cr-00005-WTM-GRS Document 248 Filed 02/10/15 Page 2 of 8




and Swain arranged for Swain to beat her husband to death with a

baseball bat. MJ413-093, doe. 13 (arrest warrant application); doe. 174-1

at 14-18. This Court had issued Swain's arrest warrant upon another

FBI agent's probable cause showing that Swain and Eubank conspired to

murder her husband. MJ413-093, doe. 13 (arrest warrant application);

doe. 15 (arrest warrant for "Murder in violation of Title 18, United

States Code, Section 1111(b)"). He thus was in custody during the

ensuing interview, where the agents made it clear to him that he would

be sent to Georgia to face the murder charge. Doe. 215-1 at 1-3.

      No other evidence was taken at the Jackson-Denno hearing on

Swain's motion, so its resolution depends exclusively on the audio-

recorded statements made during the interview. At the commencement

of the interview, FBI Agent Wayne Gerhardt administered the warnings

required by Miranda v. Arizona, 384 U.S. 436, 444 (1966). Doe. 215-1 at

1. Swain said he understood his rights.         Id. And even though Swain

shortly thereafter signed a Miranda waiver form, doe. 215-1 at 1, 3; doe.

215-2 (the form),' he now says that his statements to the agents were

involuntary. Why? Because after Agent Gerhardt read him his Miranda

   Swain does not challenge the legal sufficiency of the Miranda warnings on that
form.

                                        2
    Case 4:14-cr-00005-WTM-GRS Document 248 Filed 02/10/15 Page 3 of 8




rights, Swain asked: "The thing is if I needed a lawyer, how am I going to

be able to get one appointed to me that quickly?" Doc. 215 at 1-2

(quoting doe. 215-1 at 1) (emphasis added). Gerhardt's response, Swain

contends, rendered his implied agreement to keep talking (and thus

waive his right to remain silent) involuntary:

  Well, the court could appoint one to you, urn, honestly at that point
  we take you over to the Marshals Service and, and, and at that
  point you would be appointed counsel. The question is whether or
  not we can sit down with you here again. It would probably be
  back, once you get back to Georgia, before, before someone can talk to
  you.

Doc. 215 at 2 (Swain's brief quoting the interview transcript, doe. 215-1

at 2 (emphasis by Swain)). Swain's reasoning as to how those words

coerced or tricked him into speaking:

  Here, the Miranda warning was tainted by the agent's response
  that Swain would not receive a lawyer until he was turned over
  to the Marshal's Service. This "if and when we turn you over to
  the Marshals" type response does not comply with Miranda and
  differs on the facts from the Supreme Court's decision in
  Duckworth v. Eagan, 492 U.S. 195; 109 S. Ct. 2875 (1989). The
  waiver was inadequate and misleading; as a result, Swain's
  statement was not in fact voluntary and should be excluded.

Doc. 215 at 34•4


  Here is the surrounding context of the agent's exchange with Swain:

   Gerhardt: [U]m, before we get started, like I told you in the car, you've got
   certain rights and, urn, and what I what I want to do before we talk to you

                                         3
    Case 4:14-cr-00005-WTM-GRS Document 248 Filed 02/10/15 Page 4 of 8




   today is I'm going to go over your rights. You've been arrested before, haven't
   you?

   Swain: Yes sir.

   Gerhardt: Okay. So you're familiar with what your rights are but still I'm
   going to review them with you. And I'm going to read them out loud and then
   I'm going to give you a chance to review them. Before we can ask you any
   questions, you must understand your rights. You have the right to remain
   silent. Anything you say can be used against you in court. You have the right
   to talk to a lawyer for advice before we ask you any questions. You have the
   right to have a lawyer with you during questioning. If you cannot afford a
   lawyer, one will be appointed to you before any questioning if you wish. If you
   decide to answer questions now without a lawyer, you have the right to stop
   answering at any time. Do you understand your rights?

   Swain: Yes sir.

   Gerhardt: Okay. Do you want to talk to us today?

   Swain: The thing is if I needed a lawyer, how am I going to be able to get one
   appointed to me that quickly?

   Gerhardt: Well, the court could appoint one to you, urn, honestly at that point
   we take you over to the Marshals Service and, and, and at that point you
   would be appointed counsel. The question is whether or not we can sit down
   with you here again. It would probably be back, once you get back to Georgia,
   before, before someone can talk to you.

Doc. 215-1 at 1-2. Swain then replied: "Now I've got a major question there." Id. at
2. He then asked the agents how he would ultimately get back to Jasper, Alabama,
id., where he had been arrested. WG replied: "Well, I don't know how you got there
in the first place, Carl," and the exchanged drifted off into an irrelevant area (Swain
said he'd biked from one point to another, etc.). Id. at 2. Even at that, WG reiterated
that he did not know what was going to happen to Swain, id., then paused to ensure
that Swain still wanted to waive his Miranda rights:

   Gerhardt: So let me just clarify, you want to go on and waive your rights and
   talk to us at this time?

   Swain: I will talk to you as much as I can.

   Gerhardt: Okay, well - let me do this. What I'm doing to ask you to do is sign

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     Case 4:14-cr-00005-WTM-GRS Document 248 Filed 02/10/15 Page 5 of 8




       Swain's motion is baseless. Agent Gerhardt truthfully and

accurately answered Swain's "lawyer" question, explaining that any

request for appointed counsel would be addressed by the court, a

process that would entail some delay and, hence, necessarily preclude

an interview at that time. After this explanation, Gerhardt even took

pains to "clarify" whether Swain wanted to "waive [his] rights and

talk to us at this time." Doc. 215-1 at 3.

       The agent did not deceive Swain in any way about the nature of

his rights or the consequences of waiving or asserting them.

Duckworth, the case Swain seeks to distinguish, negates his argument.

That opinion's opening paragraph:

       Respondent confessed to stabbing a woman nine times
       after she refused to have sexual relations with him, and he
   your name right there. Thank you. Just for the record 11:20 is what the time
   we signed the consent form.

   Swain: Is that what that says there?

   Gerhardt: Well that's 11:19 is the time that you agreed to consent. I don't have
   the best handwriting do I Carl?

   Swain: (Laughs). Well I understand what you wrote. Okay I see, I see.

    Gerhardt: Okay. The time you actually...

    Swain: Yeah, yeah, that one thing that looked like a four is actually a "A".

Id. at 3.
   Case 4:14-cr-00005-WTM-GRS Document 248 Filed 02/10/15 Page 6 of 8




     was convicted of attempted murder. Before confessing,
     respondent was given warnings by the police, which
     included the advice that a lawyer would be appointed "if
     and when you go to court." The United States Court of
     Appeals for the Seventh Circuit held that such advice did
     not comply with the requirements of Miranda v. Arizona,
     384 U.S. 436, 86 S. Ct. 1602, 16 L.Ed.2d 694 (1966). We
     disagree and reverse.

Duckworth, 492 U.S. at 197. After observing that "it must be

relatively commonplace for a suspect, after receiving          Miranda

warnings, to ask when he will obtain counsel," the Court noted that

"Miranda does not require that attorneys be producible on call." Id.

at 204 (emphasis in original). Where, as here, "the police cannot

provide appointed counsel[ ] Miranda requires only that the police not

question a suspect unless he waives his right to counsel." Id. Swain,

like the suspect in Duckworth, "did just that." Id.

     Gerhardt's Miranda warning to Swain did not even contain an

erroneous, diversionary qualifier like "if and when you go to court":

     Gerhardt. Okay. So you're familiar with what your rights are
     but still I'm going to review them with you. And I'm going to
     read them out loud and then I'm going to give you a chance to
     review them. Before we can ask you any questions, you must
     understand your rights. You have the right to remain silent.
     Anything you say can be used against you in court. You have
     the right to talk to a lawyer for advice before we ask you any
     questions. You have the right to have a lawyer with you
     during questioning. If you cannot afford a lawyer, one will be
    Case 4:14-cr-00005-WTM-GRS Document 248 Filed 02/10/15 Page 7 of 8




      appointed to you before any questioning if you wish. If you
      decide to answer questions now without a lawyer, you have
      the right to stop answering at any time. Do you understand
      your rights?

      Swain: Yes sir.

Doe. 215-1 at 1. Nor can Gerhardt's post-warning, truthful response

to Swain's "what if I need a lawyer?" question -- that the court would

appoint one for him -- in any reasonable sense be said to mislead or

intimidate Swain to the point of rendering his subsequent statements

involuntary. Indeed, it did not even enter the "police-ploy zone"

permitted by the case law.'

     Swain's amended motion (doe. 223) is likewise baseless. He does

not want his criminal history, as alluded to elsewhere in the



  As another court recently reminded:

   "Ploys to mislead a suspect or lull him into a false sense of security that do not
   rise to the level of compulsion or coercion to speak are not within Miranda's
   concerns." See Illinois v. Perkins, 496 U.S. 292, 297, 110 S. Ct. 2394, 110
   L.Ed.2d 243 (1990); Frazier v. Cupp, 394 U.S. 731, 739, 89 S. Ct. 1420, 22
   L.Ed.2d 684 (1969) (holding that police misrepresentation of facts, while
   relevant, was insufficient to render an otherwise voluntary confession
   inadmissible).

Fundaro v. Curtin, 2015 WL 357012 at *7 (E.D. Mich. Jan. 26, 2015); see United
States v. Lall, 607 F.3d 1277, 1285 (11th Cir. 2010) (while police misrepresentations
about the legal consequences of confessing are "likely to render a suspect's confession
involuntary," a mere "misrepresentation of fact" about the nature and strength of
the government's evidence is "not enough to render a suspect's ensuing confession
involuntary").
   Case 4:14-cr-00005-WTM-GRS Document 248 Filed 02/10/15 Page 8 of 8




interview (doe. 215-1 at 1 ("You've been arrested before, haven't

you?"); id. at 17 ("You do have a battery charge"), mentioned at trial.

Doe. 215 at 4; doe. 223 at 1-2. He also does not want the jury to hear

one of the interrogating FBI agents express his belief about Swain's

involvement in the murder. Doe. 223 at 2; see also doe. 215-1 at 17

("Well, Carl let me tell what I think happened.   ..   .").
                                                              But Swain is, as

the government correctly points out, free to object on evidentiary

grounds at trial. See doe. 219 at 9 (the prosecution wants the jury to

hear the audio version of the interview, "and leaves it to the sound

discretion of the trial court to decide about any redactions before the

recording is played to the jury.").

   Accordingly, Carl Evan Swain's Jackson-Denno motion, doe. 215,

as amended, doe. 223, should be DENIED.

     SO REPORTED AND RECOMMENDED this Jday of

February, 2015.

                                        UNITED S TES MAGISTRATE JUDGE
                                        SOUTHERN DISTRICT OF GEORGIA
